           Case 4:23-cv-05448-YGR                Document 117   Filed 08/19/24    Page 1 of 10



 1   [Submitting Counsel on Signature Page]
 2

 3

 4

 5

 6

 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    People of the State of California, et al.                 MDL No. 3047
          v.
11                                                              Case No.: 4:23-cv-05448-YGR
      Meta Platforms, Inc., Instagram, LLC, Meta                          4:23-cv-05885-YGR
12    Payments, Inc., Meta Platforms Technologies,                        4:24-cv-00805-YGR
      LLC
13
      ----------------------------------------------------
14                                                              STATE ATTORNEYS GENERAL’S
      Office of the Attorney General, State of Florida,         SECOND ADMINISTRATIVE MOTION
15    Department of Legal Affairs                               FOR LEAVE TO FILE SUPPLEMENTAL
          v.                                                    INFORMATION
16
      Meta Platforms, Inc., Instagram, LLC., Meta
17    Payments, Inc.
                                                                Judge: Hon. Yvonne Gonzalez Rogers
18    ----------------------------------------------------
                                                                Magistrate Judge: Hon. Peter H. Kang
19    State of Montana, ex rel. Austin Knudsen, Attorney
      General
20
          v.
21    Meta Platforms, Inc., Instagram, LLC, Facebook
      Holdings, LLC, Facebook Operations, LLC, Meta
22    Payments, Inc., Meta Platforms Technologies, LLC,
      Siculus, Inc.
23
      ----------------------------------------------------
24
      IN RE: SOCIAL MEDIA ADOLESCENT
25    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION
26
      THIS DOCUMENT RELATES TO:
27
      4:23-cv-05448; 4:23-cv-05885; 4:24-cv-00805
28
         STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                    4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
           Case 4:23-cv-05448-YGR           Document 117         Filed 08/19/24      Page 2 of 10



 1

 2          Under Civil Local Rule 7-11 and 7-3(d), the State Attorneys General (“State AGs”) submit this
 3   Second Administrative Motion for Leave to File Supplemental Information to bring to the Court’s
 4   attention additional relevant events occurring since the State AGs and Meta Platforms, Inc.; Instagram,
 5   LLC; Meta Payments, Inc.; and Meta Platforms Technologies, LLC (“Meta”) submitted their Joint
 6   Statement and Joint Supplemental Letter Brief Regarding State Agency Discovery, see Dkt. Nos. 685,
 7   736, and since the Court heard oral argument on March 21, 2024 and May 6, 2024.
 8          On July 24, 2024, the State AGs filed their Administrative Motion for Leave to File Supplemental
 9   Information, Dkt. No. 1031, alerting the Court that Meta had provided notice of its intent to serve
10   subpoenas to 26 state agencies. Since that time, Meta has provided notice of its intent to serve subpoenas
11   on an additional 57 state agencies, including three agencies added since the Joint Discovery Management
12   Conference Statement was filed on August 2, 2024.
13          Attached as Exhibit A is Meta’s July 29, 2024 Notice of Intent to Serve Subpoenas on 26 agencies.
14   Attached as Exhibit B is Meta’s July 30, 2024 Notice of Intent to Serve Subpoenas on two agencies.
15   Attached as Exhibit C is Meta’s July 31, 2024 Notice of Intent to Serve Subpoenas on twelve agencies.
16   Attached as Exhibit D is Meta’s August 1, 2024 Notice of Intent to Serve Subpoenas on fourteen agencies.
17   Attached as Exhibit E is Meta’s August 9, 2024 Notice of Intent to Serve Subpoenas on three agencies.
18          Meta’s subpoenas directed to state agencies differ from Meta’s earlier Requests for Production of
19   Documents served on the State AGs which had purported to demand the State AGs to produce documents
20   in the possession of numerous state agencies, including these agencies. The subpoenas contain new
21   requests directed to the agencies, while also repeating a subset of the prior Requests for Production of
22   Documents.
23          Below is a list of each entity to which Meta has indicated it intends to issue a subpoena as of the
24   date of this Motion, which encompass entities in each of the 35 states of State AGs whose enforcement
25   actions are consolidated in this multidistrict litigation. Meta previously identified each of the 83 entities
26   as entities encompassed in the dispute regarding state agency discovery. See Dkt. 736-1. The entities are
27   listed in order of Meta’s notices:
28                                                        2
         STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                    4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
       Case 4:23-cv-05448-YGR          Document 117        Filed 08/19/24     Page 3 of 10



 1   o California Department of Child Support Services
 2   o California Department of Education
 3   o California Mental Health Services Oversight and Accountability Commission
 4   o Colorado Behavioral Health Administration
 5   o Colorado Department of Education
 6   o Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities
 7   o Kentucky Department of Education
 8   o New Jersey Department of Education
 9   o New Jersey Department of Health
10   o New Jersey Governor’s Council on Mental Health Stigma
11   o Georgia Department of Behavioral Health and Developmental Disabilities
12   o Georgia Department of Education
13   o Maine Department of Education
14   o Maine Department of Health & Human Services
15   o Maryland Center for School Safety
16   o Maryland Department of Human Services
17   o Arizona Department of Child Safety
18   o Arizona Department of Education
19   o Arizona Department of Health Services
20   o Idaho Department of Education
21   o Idaho Health & Welfare Department
22   o Commission on Improving the Status of Children in Indiana
23   o Indiana Department of Education
24   o Indiana Department of Health
25   o Louisiana Department of Education
26   o Louisiana Department of Health
27   o Connecticut Department of Education
28                                                  3
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
       Case 4:23-cv-05448-YGR          Document 117        Filed 08/19/24     Page 4 of 10



 1   o Connecticut Department of Mental Health and Addiction Services
 2   o Florida Department of Education
 3   o Florida Department of Health
 4   o Hawaii Department of Education
 5   o Hawaii State Council on Mental Health
 6   o Illinois Board of Education
 7   o Illinois Department of Human Services
 8   o Illinois Department of Public Health
 9   o Kansas Department for Children and Families
10   o Kansas Department of Education
11   o Kansas Department of Health & Environment
12   o Michigan Department of Education
13   o Michigan Department of Health & Human Services
14   o Minnesota Department of Education
15   o Minnesota Department of Human Services
16   o Missouri Department of Elementary and Secondary Education
17   o Missouri Department of Mental Health
18   o Nebraska Department of Education
19   o Nebraska Department of Health and Human Services
20   o New York Department of Education
21   o New York Office of Mental Health
22   o North Dakota Department of Health and Human Services
23   o North Dakota Department of Public Instruction
24   o Ohio Department of Education & Workforce
25   o Ohio Department of Mental Health & Addiction Services
26   o Ohio Department of Higher Education
27   o Ohio Department of Health
28                                                  4
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
       Case 4:23-cv-05448-YGR          Document 117        Filed 08/19/24     Page 5 of 10



 1   o Montana Board of Public Education
 2   o Montana Department of Public Health and Human Services
 3   o North Carolina Department of Health and Human Services
 4   o North Carolina Department of Public Instruction
 5   o Oregon Department of Education
 6   o Oregon Department of Human Services
 7   o Rhode Island Department of Behavioral Healthcare, Developmental Disabilities and Hospitals
 8   o Rhode Island Department of Education
 9   o Rhode Island Department of Human Services
10   o South Carolina Department of Education
11   o South Carolina Department of Mental Health
12   o Wisconsin Office of Children’s Mental Health
13   o Delaware Department of Education
14   o Delaware Department of Health and Social Services
15   o Pennsylvania Department of Education
16   o Pennsylvania Department of Human Services
17   o South Dakota Department of Education
18   o South Dakota Department of Social Services
19   o Virginia Department of Behavioral Health and Developmental Services
20   o Virginia Department of Education
21   o Virginia Foundation for Healthy Youth
22   o Washington Department of Children, Youth, and Families
23   o Washington State Board of Education
24   o Washington State Department of Social and Health Services
25   o West Virginia Bureau for Children and Families
26   o West Virginia Department of Education
27   o Kentucky Board of Education
28                                                  5
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
           Case 4:23-cv-05448-YGR          Document 117          Filed 08/19/24    Page 6 of 10



 1      o Kentucky Cabinet for Health and Family Services
 2      o Kentucky Department of Public Health.
 3          Additionally, Meta has taken the same approach to discovery from state agencies in
 4   Commonwealth of Massachusetts v. Meta Platforms, Inc., Massachusetts Super. Ct. No. 2384CV02397-
 5   BLS1, the pending enforcement action brought by the Attorney General of Massachusetts. On August 6,
 6   2024, Meta indicated that it intended to serve third party subpoenas on the following six Massachusetts
 7   state entities, which Meta noted “are not named parties” in the suit: Massachusetts Department of
 8   Elementary and Secondary Education; Massachusetts Bureau of Family and Community Health;
 9   Massachusetts Department of Mental Health; Massachusetts Department of Public Health; Massachusetts
10   Executive Office of Health and Human Services; and Massachusetts Executive Office of Education. A
11   copy of Meta’s notice of intent to serve subpoenas on these agencies is attached as Exhibit F.
12          The State AGs seek to provide the supplemental information attached as Exhibits A, B, C, D, E
13   and F to ensure a complete and accurate record.
14          The State AGs have consulted with counsel for Meta, which takes no position on the State AGs’
15   filing of this Motion.
16
      DATED: August 19, 2024                                 Respectfully submitted,
17

18                                                           PHILIP J. WEISER
                                                             Attorney General
19                                                           State of Colorado

20                                                           /s/ Bianca E. Miyata
                                                             Bianca E. Miyata, CO Reg. No. 42012,
21
                                                             pro hac vice
22                                                           Senior Assistant Attorney General
                                                             Lauren M. Dickey, CO Reg. No. 45773, pro hac
23                                                           vice
                                                             First Assistant Attorney General
24                                                           Megan Paris Rundlet, CO Reg. No. 27474
                                                             Senior Assistant Solicitor General
25
                                                             Elizabeth Orem, CO Reg. No. 58309
26                                                           Assistant Attorney General
                                                             Colorado Department of Law
27                                                           Ralph L. Carr Judicial Center
28                                                       6
         STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                    4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
      Case 4:23-cv-05448-YGR           Document 117         Filed 08/19/24      Page 7 of 10



 1                                                      Consumer Protection Section
                                                        1300 Broadway, 7th Floor
 2                                                      Denver, CO 80203
 3                                                      Phone: (720) 508-6651
                                                        bianca.miyata@coag.gov
 4
                                                        Attorneys for Plaintiff State of Colorado, ex rel.
 5                                                      Philip J. Weiser, Attorney General
 6                                                      ROB BONTA
 7                                                      Attorney General
                                                        State of California
 8
                                                        /s/ Megan O’Neill
 9                                                      Nicklas A. Akers (CA SBN 211222)
                                                        Senior Assistant Attorney General
10
                                                        Bernard Eskandari (SBN 244395)
11                                                      Emily Kalanithi (SBN 256972)
                                                        Supervising Deputy Attorneys General
12                                                      Nayha Arora (CA SBN 350467)
                                                        Megan O’Neill (CA SBN 343535)
13                                                      Joshua Olszewski-Jubelirer
                                                        (CA SBN 336428)
14
                                                        Marissa Roy (CA SBN 318773)
15                                                      Brendan Ruddy (CA SBN 297896)
                                                        Deputy Attorneys General
16                                                      California Department of Justice
                                                        Office of the Attorney General
17                                                      455 Golden Gate Ave., Suite 11000
                                                        San Francisco, CA 94102-7004
18
                                                        Phone: (415) 510-4400
19                                                      Fax: (415) 703-5480
                                                        Megan.ONeill@doj.ca.gov
20
                                                        Attorneys for Plaintiff the People of the State of
21                                                      California
22
                                                        RUSSELL COLEMAN
23                                                      Attorney General
                                                        Commonwealth of Kentucky
24
                                                        /s/ J. Christian Lewis
25                                                      J. Christian Lewis (KY Bar No. 87109),
26                                                      Pro hac vice
                                                        Philip Heleringer (KY Bar No. 96748),
27                                                      Pro hac vice

28                                                  7
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
      Case 4:23-cv-05448-YGR           Document 117         Filed 08/19/24    Page 8 of 10



 1                                                      Zachary Richards (KY Bar No. 99209),
                                                        Pro hac vice app. forthcoming
 2                                                      Daniel I. Keiser (KY Bar No. 100264),
 3                                                      Pro hac vice
                                                        Matthew Cocanougher (KY Bar No. 94292),
 4                                                      Pro hac vice
                                                        Assistant Attorneys General
 5                                                      1024 Capital Center Drive, Suite 200
                                                        Frankfort, KY 40601
 6                                                      CHRISTIAN.LEWIS@KY.GOV
 7                                                      PHILIP.HELERINGER@KY.GOV
                                                        ZACH.RICHARDS@KY.GOV
 8                                                      DANIEL.KEISER@KY.GOV
                                                        MATTHEW.COCANOUGHER@KY.GOV
 9                                                      Phone: (502) 696-5300
                                                        Fax: (502) 564-2698
10

11                                                      Attorneys for Plaintiff the Commonwealth of
                                                        Kentucky
12
                                                        MATTHEW J. PLATKIN
13                                                      Attorney General
                                                        State of New Jersey
14

15                                                      /s/ Kashif T. Chand
                                                        Kashif T. Chand (NJ Bar No. 016752008),
16                                                      Pro hac vice
                                                        Section Chief, Deputy Attorney General
17                                                      Thomas Huynh (NJ Bar No. 200942017),
                                                        Pro hac vice
18
                                                        Assistant Section Chief, Deputy Attorney
19                                                      General
                                                        Verna J. Pradaxay (NJ Bar No. 335822021),
20                                                      Pro hac vice
                                                        Mandy K. Wang (NJ Bar No. 373452021),
21                                                      Pro hac vice
22                                                      Deputy Attorneys General
                                                        New Jersey Office of the Attorney General,
23                                                      Division of Law
                                                        124 Halsey Street, 5th Floor
24                                                      Newark, NJ 07101
                                                        Tel: (973) 648-2052
25                                                      Kashif.Chand@law.njoag.gov
26                                                      Thomas.Huynh@law.njoag.gov
                                                        Verna.Pradaxay@law.njoag.gov
27                                                      Mandy.Wang@law.njoag.gov

28                                                  8
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
      Case 4:23-cv-05448-YGR           Document 117         Filed 08/19/24     Page 9 of 10



 1
                                                        Attorneys for Plaintiff New Jersey Division of
 2                                                      Consumer Affairs
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                  9
     STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
          Case 4:23-cv-05448-YGR          Document 117        Filed 08/19/24      Page 10 of 10



 1                                             ATTESTATION
 2
            I, Megan O’Neill, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
 3
     the filing of this document has been obtained from each signatory hereto.
 4

 5    DATED: August 19, 2024
 6

 7                                                        /s/ Megan O’Neill
                                                          MEGAN O’NEILL
 8                                                        Deputy Attorney General
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                      10
         STATE ATTORNEYS GENERAL’S SECOND ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                    4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
